           Case 3:18-cr-05029-W Document 32 Filed 05/13/19 PageID.80 Page 1 of 1




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 7
                                UNITED STATES DISTRICT COURT
 8
                          SOUTHERN DISTRICT OF CALIFORNIA
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10                        (HONORABLE THOMAS J. WHELAN)
11
     UNITED STATES OF AMERICA,                 Case No.: 18-CR-5029-W
12
                   Plaintiff,
13
                                               ORDER
14   vs.
15
     AUSTIN DEMPSEY,
16
                   Defendant.
17

18           IT IS ORDERED that the Sentencing Hearing set for Monday, June 3, 2019,

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     at 9:00 a.m. be continued to Monday, August 5, 2019, at 9:00 a.m. before the
20
     Honorable Thomas J. Whelan.
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22           DATED:   -~d~l_111_}i_y_
23
                                                 Honorable Tho
                                                 United States District Court Judge
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